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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION,                  )
                             )
     Plaintiff,              )
                             )                         Civil Action No.:
v.                           )                         2:19-cv-657-WKW
                             )                         (Unopposed Motion)
ALLSTATE BEVERAGE COMPANY,   )
LLC,                         )
                             )
     Defendant.              )



       PLAINTIFF UNITED STATES EQUAL EMPLOYMENT OPPORTUNITY
      COMMISSION’S UNOPPOSED MOTION TO CONTINUE TRIAL SETTING
                         AND FOR OTHER RELIEF



       Plaintiff United States Equal Employment Opportunity Commission (“EEOC” or the

“Commission”) respectfully moves the Court to continue the trial currently set for the term

commencing November 7, 2022. In support of this motion, the EEOC shows the following:

   1. Motion to Continue

       On October 10, 2022, EEOC’s lead counsel learned that Jimmy Freeman, the Charging

Party and main subject of this case, has unfortunately passed away. The EEOC will therefore need

time to make alternative arrangements and strategic considerations, including deposition

designations, in order to be prepared to properly try this case. The EEOC expects the same will be

true for Defendant Allstate Beverage Company, LLC (“Allstate”).

       The EEOC also named Mr. Freeman’s widow, Sandra Freeman, and Mr. Freeman’s son,

Matt Freeman, as primary witnesses the EEOC intends to call at trial. (Doc. 63). Because the


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Freemans are both in a state of grieving as well as contending with the administrative arrangements

triggered by Mr. Freeman’s passing, they are less available to prepare for or participate in a

November 2022 trial.

       The parties have also expressed a mutual interest in discussing a possible settlement of this

matter and would also use the additional time to further explore settlement avenues.

   2. Motion for Leave to Amend Trial Exhibit Lists, Trial Witness Lists, and Deposition

       Designations

       Additionally, Mr. Freeman’s passing raises other strategic concerns regarding how the trial

must be presented by the parties. The EEOC therefore also requests that the Court allow both

parties leave to amend their respective Trial Exhibit Lists, Trial Witness Lists, and Deposition

Designations (as referenced in Sections 9, 10, and 11 of the Court’s scheduling order) within 30

days of the date of the Court enters an order continuing this case.

       The undersigned respectfully requests that the Court continue the trial currently set for the

term commencing November 7, 2022 and to grant the parties leave to amend their respective Trial

Exhibit Lists, Trial Witness Lists, and Deposition Designations within 30 days of the date of the

Court enters an order continuing this case.

       Allstate does not oppose the requested relief.



Date: October 12, 2022


                                                        Respectfully submitted,
                                                        MARSHA L. RUCKER
                                                        Regional Attorney

                                                        GERALD MILLER
                                                        Supervisory Trial Attorney



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                                    /s/ George Hayek
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                                CERTIFICATE OF SERVICE


        I hereby certify that on October 12, 2022, I filed the foregoing instrument with the Clerk
of the Court using the CM/ECF system which will electronically send notification to the following
attorneys of record.

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                                                    /s/ George Hayek
                                                    GEORGE HAYEK




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